Case 1:21-cv-00445-CJN-MAU Document 221-1 Filed 08/09/24 Page 1 of 3




                       EXHIBIT A
       Case 1:21-cv-00445-CJN-MAU Document 221-1 Filed 08/09/24 Page 2 of 3


                                        Susman Godfrey l.l.p.
                                         a registered limited liability partnership
                                                        SUITE 1400
                                               1900 AVENUE OF THE STARS
                                        LOS ANGELES, CALIFORNIA 90067-6029
                                                       (310) 789-3100
                                                     FAX (310) 789-3150
                                                    www.susmangodfrey.com
                                                       __________
        Suite 5100                                       Suite 3000
   1000 Louisiana Street                              401 Union Street                        One Manhattan West
Houston, Texas 77002-5096                     Seattle, Washington 98101-2683            New York, New York 10001-8602
     (713) 651-9366                                    (206) 516-3880                          (212) 336-8330
        __________                                        __________                               __________

                               Davida Brook
                                                                                      E-Mail dbrook@susmangodfrey.com
                       Direct Dial (310) 789-3105




          August 9, 2024


          Hon. Moxila A. Upadhyaya
          Magistrate, U.S. District Court for the District of Columbia
          E. Barrett Prettyman U.S. Courthouse
          333 Constitution Avenue, NW
          Washington, DC 20001

          Re:       1:21-cv-00040, 00213, 00445, 02131, 02130 – U.S. Dominion Inc. et al
                    Litigations, United States District Court, District of Columbia

          Your Honor:

          Dominion writes to flag what it believes to be an important gating issue.

          As Judge Nichols ordered during a September 21, 2023, telephonic hearing, on
          October 20, 2023, the parties submitted motions seeking entry of their respective
          proposed discovery protocols. See Case No. 1:21-cv-00040-CJN-MAU, Dkt. 106,
          107. Then, on March 18, 2024, Your Honor held a status conference and ordered
          the parties to submit a Word version of their proposed discovery protocol and
          update on any previously identified disputes that have been resolved. See March
          19, 2024, Minute Order, 1:21-cv-00040-CJN-MAU. In accordance with the Court’s
          order, on March 20, 2024, the parties submitted their respective orders by email to
          Chambers. Many of the provisions in those submissions were agreed (and
          highlighted for the Court); but certain important issues remain disputed.

          Since that time, the parties have further met and conferred in an effort to resolve
          their discovery concerns. While the parties have made good progress, as flagged in
          more recent submissions to Your Honor, there remain certain disputes (from both
          sides). At bottom, Dominion continues to believe that several Defendants have
          failed to produce responsive documents. In particular, we aren’t able to evaluate
          OAN’s production at this point because they have refused for more than a year to
Case 1:21-cv-00445-CJN-MAU Document 221-1 Filed 08/09/24 Page 3 of 3



  August 9, 2024
  Page 2



  produce hit reports, which would show what percentage documents hitting on the
  agreed-upon terms it has produced versus withheld. Yet even without hit reports,
  we have strong reason to doubt OAN’s production to date, for reasons explained in
  our filing last month.

  With the close of fact discovery slated for the end of September, Dominion will be
  spending the next two months taking offensive depositions—even though it
  believes Defendants have not produced a significant number of responsive
  documents. This lack of documents is particularly concerning as Dominion does
  not have trial subpoena power over all these witnesses, putting it in the untenable
  situation where Defendants are forcing Dominion to take trial depositions of party
  and non-party deponents without all the documents.

  Again, despite these concerns Dominion believes the Court would want it to
  proceed with depositions under the currently ordered schedule and so has been
  doing just that. Dominion also wanted to be transparent and make the appropriate
  record that to the extent this Court rules that Defendants are required to produce
  additional documents, it will seek the opportunity to re-depose relevant individuals
  outside of the current fact discovery cutoff (depending on the volume and
  materiality of new documents produced for particular custodians).

  As always, Dominion is available to appear via zoom or in person for an informal
  discovery conference with the Court; or whatever other procedure the Court would
  prefer.

  Sincerely,

  /s/ Davida Brook

  Davida Brook
